Case: 4:21-cv-01022-SEP Doc. #: 151 Filed: 07/12/22 Page: 1 of 19 PageID #: 7108




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                                 EASTERN DIVISION

       POWER INVESTMENTS, LLC,           )
                                         )
              Plaintiff,                 )
                                         )
       vs.                               )   Case No. 4:21-cv-01022
                                         )
       CARDINALS PREFERRED, LLC,         )
                                         )
              Defendant.                 )




                 CARDINALS PREFERRED, LLC’S
       MEMORANDUM OF LAW IN SUPPORT OF ITS MOTION TO
  EXCLUDE THE EXPERT REPORT OF PROFESSOR M. TODD HENDERSON




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Case: 4:21-cv-01022-SEP Doc. #: 151 Filed: 07/12/22 Page: 2 of 19 PageID #: 7109




                                                   TABLE OF CONTENTS

                                                                                                                                      Page

PRELIMINARY STATEMENT .................................................................................................... 1
LEGAL STANDARD..................................................................................................................... 2
ARGUMENT .................................................................................................................................. 4
I.        PROFESSOR HENDERSON’S REPORT AND TESTIMONY SHOULD BE
          EXCLUDED AS LEGAL OPINION ................................................................................. 4
II.       GENERAL NEGOTIATING PRINCIPLES AND EXPECTATIONS OF BUSINESS
          PERSONS ARE NOT PROPER SUBJECTS OF EXPERT TESTIMONY ...................... 8
III.      PROFESSOR HENDERSON LACKS THE REQUISITE EXPERTISE TO TESTIFY
          ON LIMITED LIABILITY COMPANY AGREEMENTS .............................................. 11
CONCLUSION ............................................................................................................................. 14




                                                                      i
Case: 4:21-cv-01022-SEP Doc. #: 151 Filed: 07/12/22 Page: 3 of 19 PageID #: 7110




                                                  TABLE OF AUTHORITIES

                                                                                                                                        Page(s)

Cases

In re Acceptance Ins. Companies Sec. Litig.,
    423 F.3d 899 (8th Cir. 2005) .....................................................................................................3

CDX Liquidating Tr. v. Venrock Assocs.,
  411 B.R. 571 (N.D. Ill. 2009) ....................................................................................................8

Christensen v. Lemaster,
   2006 U.S. Dist. LEXIS 16905 (D. Idaho Mar. 21, 2006) ....................................................4, 11

Daubert v. Merrell Dow Pharm., Inc.,
   509 U.S. 576 (1993) .........................................................................................................2, 4, 11

Farmland Indus. v. Frazier-Parrott Commodities, Inc.,
   871 F.2d 1402 (8th Cir. 1989) ...................................................................................................7

Kumho Tire Co. v. Carmichael,
  526 U.S. 137 (1999) .............................................................................................................4, 11

Langenbau v. Med-Trans Corp.,
   167 F. Supp. 3d 983 (N.D. Iowa 2016) ................................................................................3, 13

Lipp v. Ginger C, LLC,
   2017 U.S. Dist. LEXIS 7413 (W.D. Mo. Jan. 19, 2017) ................................................. passim

Marx & Co. v. Diners’ Club, Inc.,
  550 F.2d 505 (2d Cir. 1977)...................................................................................................6, 7

McCabe v. Macaulay,
  2007 U.S. Dist. LEXIS 14210 (N.D. Iowa Feb. 26, 2007) ........................................................3

Morley v. Square, Inc.,
  2016 U.S. Dist. LEXIS 56983 (E.D. Mo. Apr. 29, 2016)..........................................2, 3, 10, 11

In re Novatel Wireless Secs. Litig.,
    No. 08-cv-1689-AJB (RBB), 2012 U.S. Dist. LEXIS 160555 (S.D. Cal. Nov.
    8, 2012) ......................................................................................................................................8

Pless v. Cleveland Wrecking Co.,
   2006 U.S. Dist. LEXIS 66557 (W.D.N.Y. Sept. 18, 2006) .....................................................10

Reynolds v. Henderson,
   220 F. Supp. 3d 889 (N.D. Ill. 2016) .........................................................................................8



                                                                        ii
Case: 4:21-cv-01022-SEP Doc. #: 151 Filed: 07/12/22 Page: 4 of 19 PageID #: 7111




Salem v. United States Lines Co.,
   370 U.S. 31 (1962) ...................................................................................................................10

Smilovits v. First Solar, Inc.,
   No. CV12-0555-PHX-DGC, 2019 U.S. Dist. LEXIS 221424 (D. Ariz. Dec.
   27, 2019) ....................................................................................................................................8

Specht v. Jensen,
   853 F.2d 805 (10th Cir. 1988) ...................................................................................................3

TCBY Sys., Inc. v. RSP Co.,
  33 F.3d 925 (8th Cir. 1994) .....................................................................................................10

In re Twitter Secs. Litig.,
    No. 16-cv-05314-JST, 2020 U.S. Dist. LEXIS 252718 (N.D. Cal. Apr. 20,
    2020) ..........................................................................................................................................8

United Rentals, Inc. v. Ram Holdings, Inc.,
   937 A.2d 810 (Del.Ch. 2007).....................................................................................................5

United States v. Klaphake,
   64 F.3d 435 (8th Cir. 1995) .......................................................................................................1

Wagner v. Hesston Corp.,
  450 F.3d 756 (8th Cir. 2006) .....................................................................................................2

Weitz Co., LLC v. Lexington Ins. Co.,
   786 F.3d 641 (8th Cir. 2015) .....................................................................................................6

Wheeling Pittsburgh Steel Corp. v. Beelman River Terminals, Inc.,
  254 F.3d 706 (8th Cir. 2001) .........................................................................................3, 12, 13

In re Zurn Pex Plumbing Prods. Liab. Litig.,
    644 F.3d 604 (8th Cir. 2011) .....................................................................................................2

Rules

Federal Rule of Evidence 702 ..........................................................................................................2

Other Authorities

VII Wigmore on Evidence § 1949 (3d ed. 1940) .............................................................................7




                                                                        iii
Case: 4:21-cv-01022-SEP Doc. #: 151 Filed: 07/12/22 Page: 5 of 19 PageID #: 7112




        Defendant/Counterclaim-Plaintiff Cardinals Preferred, LLC (“Cardinals”) submits this

Memorandum of Law in Support of its Motion to Exclude the Report of Professor M. Todd

Henderson dated April 29, 2022 (the “Report”) (Ex. A) and to preclude Professor Henderson from

testifying at trial.

                                PRELIMINARY STATEMENT

        Plaintiff/Counterclaim-Defendant Power Investments, LLC (“Power”) has put forth an

opinion from a corporate law professor who has never served on the board of a limited liability

company, who has never written any articles on limited liability companies, and who has never

been at the bargaining table in negotiating the terms of an LLC agreement. See Henderson Dep.

(Ex. B) at 23:7-10; 24:17-19; 25:7-12; 25:17-26:4. While Professor Henderson purports to opine

on “custom and practice of investment arrangements like the one between Power and [Cardinals],”

the opinions that Professor Henderson offers are legal opinions cloaked in expert language.

        In the Executive Summary of his Report, Professor Henderson enumerates fourteen

opinions that he is offering. See Ex. A at 4-5. The first nine of these opinions (Opinions 1-9) are

articulations and applications of purported principles of contract interpretation. The final five

opinions (Opinions 10-14) are an explanation and application of a legal principle -- the “forthright

negotiator” principle -- developed by Delaware’s equitable Court of Chancery to resolve

ambiguous contracts. Neither of these are proper subjects for expert testimony. Instead, Professor

Henderson is propounding and applying legal principles, seeking to intrude on a task that falls

squarely within the purview of the Court. See United States v. Klaphake, 64 F.3d 435, 438 (8th

Cir. 1995) (“[Q]uestions of law are the subject of the court’s instructions and not the subject of

expert testimony.”).
Case: 4:21-cv-01022-SEP Doc. #: 151 Filed: 07/12/22 Page: 6 of 19 PageID #: 7113




       To the extent that Professor Henderson is offering anything beyond his legal opinions, his

opinions on general negotiating principles and his own expectations of business people are not

“technical or complex matters” beyond the ken of the judge or jury and presentation of these

opinions would be both unnecessary and prejudicial. See Morley v. Square, Inc., 2016 U.S. Dist.

LEXIS 56983, at *8 (E.D. Mo. Apr. 29, 2016). Further, even were such opinions permissible in

the abstract, Professor Henderson lacks the relevant background and expertise to opine on the

matters in this case, having not written on LLC agreements and having only limited “consulting”

experience in the business world. See Ex. B at 24:17-19; 74:4-75:5. For all these reasons, the

opinions in the Report do not satisfy the requirements for expert testimony under Federal Rule of

Evidence 702 and Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 576 (1993) and should be

excluded in their entirety.

                                      LEGAL STANDARD

       The Court must act as “gatekeeper” to “insure that proffered expert testimony is both

relevant and reliable.” Morley, 2016 U.S. Dist. LEXIS 56983, at *8 (quoting Wagner v. Hesston

Corp., 450 F.3d 756, 758 (8th Cir. 2006)); see also Daubert, 509 U.S. at 589. Federal Rule of

Evidence 702 provides the standard for the Court’s admission of expert testimony, requiring that

the expert’s specialized knowledge “will help the trier of fact to understand the evidence or to

determine a fact in issue.” Accordingly, the testimony must be “based on sufficient facts or data”

and “the product of reliable principles and methods,” and the expert must have “reliably applied

the principles and methods to the facts of the case.” F.R.E 702. The Court’s role as gatekeeper is

especially important in a jury trial. See, e.g. In re Zurn Pex Plumbing Prods. Liab. Litig., 644 F.3d

604, 613 (8th Cir. 2011) (“The main purpose of Daubert exclusion is to protect juries from being

swayed by dubious scientific testimony.”).




                                                 2
Case: 4:21-cv-01022-SEP Doc. #: 151 Filed: 07/12/22 Page: 7 of 19 PageID #: 7114




       “It is well-settled that experts may not offer legal conclusions about a case.” Morley, 2016

U.S. Dist. LEXIS 56983, at *7. It is inappropriate for a party to proffer an expert opinion that is

merely that party’s repackaged legal argument. See In re Acceptance Ins. Companies Sec. Litig.,

423 F.3d 899, 905 (8th Cir. 2005) (holding that the trial court properly excluded expert opinions

that were “more or less legal conclusions about the facts of the case as presented to the experts by

the [plaintiffs]” and were “meant to substitute [for] the judgment of the [trial court]”).

“[R]esolving doubtful questions of law is the distinct and exclusive province of the trial judge.”

McCabe v. Macaulay, 2007 U.S. Dist. LEXIS 14210, at *8 (N.D. Iowa Feb. 26, 2007).

Accordingly, “federal courts typically prohibit lawyers, professors, and other experts from

interpreting the law for the court or from advising the court about how the law should apply to the

facts of a particular case.” Id. Such testimony “circumvents the fact finder’s decision-making

function by telling it how to decide the case.” Id. (quoting Specht v. Jensen, 853 F.2d 805 (10th

Cir. 1988)).

       Testimony on “custom and practice” is only permissible where it elucidates industry-

specific practices that are beyond the ken of the judge or average juror. See, e.g. Morley, 2016

U.S. Dist. LEXIS 56983, at *8-9; see also Lipp v. Ginger C, LLC, 2017 U.S. Dist. LEXIS 7413,

at *7-8 (W.D. Mo. Jan. 19, 2017). Further, expert testimony on “industry standards” must be

anchored in the expert’s specific experience with these standards, not just general experience in

the field. See Langenbau v. Med-Trans Corp., 167 F. Supp. 3d 983, 1000 (N.D. Iowa 2016)

(rejecting testimony on “best industry practices” in aviation where the expert relied on his “43

years of experience” but could not cite any “specific regulations or specific expressions of ‘best

industry practices’”); Wheeling Pittsburgh Steel Corp. v. Beelman River Terminals, Inc., 254 F.3d

706, 715 (8th Cir. 2001) (holding that trial court erred in allowing hydrologist who was qualified




                                                 3
Case: 4:21-cv-01022-SEP Doc. #: 151 Filed: 07/12/22 Page: 8 of 19 PageID #: 7115




as an expert in flood risk management to testify on “safe warehousing practices” in the absence of

relevant “education, employment, or other practical personal experiences” on that specific topic).

Nor is it appropriate for an industry expert to testify as to a defendant’s intent or state of mind.

Lipp, 2017 U.S. Dist. LEXIS 7413, at *12 (citing Christensen v. Lemaster, 2006 U.S. Dist. LEXIS

16905, at *3 (D. Idaho Mar. 21, 2006)).

       Even where the topics of expert testimony are permissible, the expert’s testimony must still

be reliable. Daubert, 509 U.S. at 589 (“[T]he trial judge must ensure that any and all scientific

testimony or evidence is not only relevant, but reliable.”). The subject of an expert’s testimony

must be “scientific knowledge,” which requires “more than subjective belief or unsupported

speculation.” Id. Even in the “soft” sciences, Daubert still imposes the strict requirement “that an

expert, whether basing testimony upon professional studies or personal experience, employs in the

courtroom the same level of intellectual rigor that characterizes the practice of an expert in the

relevant field.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 151-52 (1999) (holding that Daubert

“gatekeeping” obligation applies not only to “scientific” testimony, but to all expert testimony,

including where the expert “relies on skill- or experience-based observation”).

                                           ARGUMENT

I.     PROFESSOR HENDERSON’S REPORT AND TESTIMONY SHOULD BE
       EXCLUDED AS LEGAL OPINION

       Professor Henderson’s Report, and any subsequent testimony, constitutes impermissible

legal opinion both in laying out and applying principles of contract interpretation (Opinions 1-9)

and effectively briefing and applying the “forthright negotiator” principle, a legal principle

developed by the Delaware Chancery Court (Opinions 10-14). For example, Henderson offers the

legal opinion that “[t]here are three relevant dates for put/call options”:




                                                  4
Case: 4:21-cv-01022-SEP Doc. #: 151 Filed: 07/12/22 Page: 9 of 19 PageID #: 7116




    x   The execution date is when the option right vests in the holder of the option—in this case,
        the options became vested rights on August 9, 2017, the day the parties executed the
        Agreement;

    x   The exercise date is when a party with a right uses that right to buy/sell as per the terms of
        the option—in this case, Power exercised its call on August 9, 2021, and it was on this date
        that it became the beneficial owner of the shares (or units) under the terms of the
        Agreement and its call;

    x   The settlement date is when the paperwork and administrative details (including transfer of
        funds, transfer of record title or stock certificates, amendments to company agreements,
        etc.) are finalized—in this case, the parties had up to six months from August 9, 2021 to
        finish this administrative work[.]

Ex. A at 4 (emphasis added). While Professor Henderson subsequently makes some effort to couch

these legal opinions in “custom and practice” language, it is transparently little more than lip

service. Professor Henderson goes on to opine “there is no doubt among market participants that

the exercise of an option finalizes ownership rights in the party exercising the option at the moment

of exercise” and “[i]n practice, conversion rights do not trump or modify the ability to exercise a

plain-vanilla option.” Ex. A at 4-5 (emphasis added). The “bottom line” conclusion, according to

Professor Henderson’s Report is that “it is accepted practice that beneficial ownership in an asset

underlying an option transfers immediately upon the exercise of that option.” Ex. A at 9 (emphasis

added). But even if Henderson is correct that business people hold certain legal opinions (and

there is no reason to think he is, see infra), the fact that a legal opinion regardless of who it is held

by, is still just that – a legal opinion.

        Professor Henderson’s exposition and application of the “forthright negotiator” principle

(Opinions 10-14) fares no better. Professor Henderson explains “forthright negotiator” as a

principle that “permit[s] a court deciding between conflicting accounts of ambiguous contract

language to privilege the interpretation that ‘has been objectively manifested [by one party] and is

known or should be known by the other party.’” Ex. A at 28-29 (quoting United Rentals, Inc. v.

Ram Holdings, Inc., 937 A.2d 810, 836 (Del. Ch. 2007)). It is a principle of contract interpretation


                                                   5
Case: 4:21-cv-01022-SEP Doc. #: 151 Filed: 07/12/22 Page: 10 of 19 PageID #: 7117




for ambiguous contracts. Again, Professor Henderson subsequently attempts to repackage his

discussion and conclusion of this legal principle in “custom and practice” language, asserting that

“United Rentals did not invent the ‘forthright negotiator’ principle from whole cloth, but rather

reflected the common practice among negotiators in deals like these.” Ex. A at 29. But

Henderson’s wholly unsupported assertion that the United Rentals Court derived its legal principle

from extant practices supposedly in the business world does not change the simple fact that

“forthright negotiator” is, as Henderson admits, understood by lawyers and courts to be “a

principle of contract interpretation.” Ex. B at 113:5-114:16; 116:8-20; 117:5-118:8.1

        It is well established that the construction of the terms and conditions of a written contract

is “an issue of law for the trial court to determine, not matters of fact insertable into the trial record

through the Federal Rules of Evidence.” Weitz Co., LLC v. Lexington Ins. Co., 786 F.3d 641, 646

(8th Cir. 2015) (expert’s interpretation of contract was a “clear invasion of the interpretative

responsibilities and legal pronouncements of the trial judge”). A law professor’s experience is

“hardly a qualification for construing a document for its legal effect when there is a knowledgeable

[judge] whose exclusive province it is to instruct the jury on the law.” Marx & Co. v. Diners’

Club, Inc., 550 F.2d 505, 512 (2d Cir. 1977). “The danger is that the jury may think that the

‘expert’ in the particular branch of the law knows more than the judge—surely an inadmissible

inference in our system of law.” Id.

        In Marx, the Court of Appeals found that the trial court erred in permitting a securities

expert to testify “as to the legal standards which he believed to be derived from the contract and

which should have governed [the defendant’s] conduct.” Id. at 509. The expert testified that “best



1
 Professor Robert Rhee, Cardinals’ rebuttal expert, made this very point in his rebuttal report and during
his deposition. See, e.g., Ex. C (Rebuttal Report of Robert J. Rhee dated June 10, 2022) at 27-30; Ex. D
(Rhee Deposition, Rough) at 131:4-132:8; 133:13-24.


                                                    6
Case: 4:21-cv-01022-SEP Doc. #: 151 Filed: 07/12/22 Page: 11 of 19 PageID #: 7118




efforts” in the context of a covenant to register shares means “the assumption on the part of the

person who gives the covenant [of] an absolute, unconditional responsibility, to set to work

promptly and diligently to do everything that would have to be done to make the registration

statement effective.” Id. The Court of Appeals found that this sort of testimony was not merely

testimony about “common practice” in the securities field, but impermissible legal opinion on

matters that “[t]he judge (or the jury as instructed by the judge) can determine equally well.” Id.

at 510 (quoting VII Wigmore on Evidence § 1949, at 81 (3d ed. 1940)).

       Similarly, in Lipp v. Ginger C, the defendants presented an expert to opine on the elements

of a joint venture under Missouri law and whether the evidence of a joint venture was sufficient in

this case. See 2017 U.S. Dist. LEXIS 7413, at *6-10. The District Court excluded these opinions,

holding that “[a]llowing expert testimony as to the requirements for a joint venture—a matter that

can be illustrated succinctly in jury instructions—would be improper because it is unnecessary,

not helpful to the jury and, cloaked as expert testimony, would be unduly prejudicial.” Id. at *8.

In addition, the expert’s “conclusions about the lack of a joint venture relationship” between the

defendants were excluded on the grounds that the “special legal knowledge of the judge makes the

witness’ testimony superfluous and the admission of such testimony would give the appearance

that the court was shifting to witnesses the responsibility to decide the case.” Id. at *9 (quoting

Farmland Indus. v. Frazier-Parrott Commodities, Inc., 871 F.2d 1402, 1409 (8th Cir. 1989)).

       Here, despite his attempts to couch his conclusions in “business practice” language,

Professor Henderson, like the experts in Marx and Lipp, is opining on how the contract in this case

should be interpreted and the legal meaning of the terms therein.         Beyond that, Professor

Henderson is providing a supplemental legal principle on the grounds of which he thinks this Court

should find for Power in the event the contract is ambiguous. Professor Henderson’s opinions are




                                                7
Case: 4:21-cv-01022-SEP Doc. #: 151 Filed: 07/12/22 Page: 12 of 19 PageID #: 7119




legal principles and legal conclusions. This is nothing new to Professor Henderson and his

opinions have been excluded as legal opinions in at least five (5) recent cases. See In re Twitter

Secs. Litig., No. 16-cv-05314-JST, 2020 U.S. Dist. LEXIS 252718 (N.D. Cal. Apr. 20, 2020)

(excluding Professor Henderson’s testimony regarding whether trading activity at issue is

consistent with scienter); Reynolds v. Henderson, 220 F. Supp. 3d 889 (N.D. Ill. 2016) (granting

motion for summary judgment, partially based on finding Professor Henderson’s testimony

inadmissible as legal opinion); In re Novatel Wireless Secs. Litig., No. 08-cv-1689-AJB (RBB),

2012 U.S. Dist. LEXIS 160555 (S.D. Cal. Nov. 8, 2012) (excluding Professor Henderson from

offering legal opinions or legal conclusions as part of his testimony); Smilovits v. First Solar, Inc.,

No. CV12-0555-PHX-DGC, 2019 U.S. Dist. LEXIS 221424 (D. Ariz. Dec. 27, 2019) (instructing

counsel that Professor Henderson will not be permitted to provide legal opinions and/or

conclusions at trial); CDX Liquidating Tr. v. Venrock Assocs., 411 B.R. 571 (N.D. Ill. 2009)

(same). The Court should likewise exclude Professor Henderson’s opinions in this case.

II.    GENERAL NEGOTIATING PRINCIPLES AND EXPECTATIONS OF BUSINESS
       PERSONS ARE NOT PROPER SUBJECTS OF EXPERT TESTIMONY

       To the extent that the Court finds any of Professor Henderson’s opinions survive after his

legal conclusions are excluded, the remaining opinions (if any) would be little more than

pronouncements of purported general negotiating principles and ipse dixit statements about “what

reasonable market participants would expect.” Ex. A at 37. These are not proper subjects of expert

testimony.   For example, Professor Henderson generally opines that “[p]arties to complex

negotiations have an obligation to be forthright about what they want and what they are giving”

and “it is expected that parties convey their understanding of contractual language.” Ex. A at 28-

29. He explains that lawyers generally counsel clients that, on key terms, “it is essential that

turning points in negotiations are based on clear articulations of the parties’ intent.” Ex. A at 30



                                                  8
Case: 4:21-cv-01022-SEP Doc. #: 151 Filed: 07/12/22 Page: 13 of 19 PageID #: 7120




(internal quotation, citation omitted). Professor Henderson even goes so far as to suggest that

Cardinals’ failure to educate Power on its understanding of the deal amounted to “[d]eliberately

hiding the ball” through “secret ambiguity designed to mislead one party” because “reasonable

market participants would expect” their counterparties to explain their interpretations of the

contract. See Ex. A at 30, 37.

        Professor Henderson goes through the negotiations in this case and flags what he calls

certain “turning points” from which he then argues the parties’ intents can be inferred.

Specifically, Henderson argues that




                                                                 Ex. A at 30-31. Professor Henderson

argues Mr. Dupont failed to be a “forthright negotiator” in failing to clarify in his response to Mr.

Miller that Cardinals still intended to seek a conversion right that could trump Power’s call option.

Ex. A at 31 (explaining that Cardinals was at that moment

                                                                        . Putting aside other numerous

substantive problems with Professor Henderson’s interpretation of the interactions between

Dupont and Miller, the bigger problem is that it is not the province of the expert to opine on the

parties’ intentions.2

        Expert testimony is properly excluded where “all the primary facts can be accurately and

intelligibly described to the jury” and jurors “‘of common understanding, are as capable of


2
  While it would not alter the conclusion that his testimony is impermissible for all of the reasons set forth
herein, it is also noteworthy that Professor Henderson’s conclusions regarding a request in a February 11,
2017 email fail to address the fact that this was six months before the deal closed and pre-dated the lopsided
economic investment and concomitant risk Cardinals was taking given Power’s small monetary
contributions.



                                                      9
Case: 4:21-cv-01022-SEP Doc. #: 151 Filed: 07/12/22 Page: 14 of 19 PageID #: 7121




comprehending the primary facts and of drawing correct conclusions’ as anyone else.” Morley,

2016 U.S. Dist. LEXIS 56983, at *8-9 (quoting Salem v. United States Lines Co., 370 U.S. 31, 35

(1962)). While expert testimony can be appropriate under the limited circumstance where

industry-specific norms are “technical or complex,” Henderson’s testimony regarding a general

“obligation to be forthright” and what “market participants would expect” does not fit this bill.

Compare TCBY Sys., Inc. v. RSP Co., 33 F.3d 925, 929 (8th Cir. 1994) (permitting expert

testimony on reasonableness of site review and evaluation processes in the franchise industry) and

Pless v. Cleveland Wrecking Co., 2006 U.S. Dist. LEXIS 66557, at *12 (W.D.N.Y. Sept. 18, 2006)

(permitting expert testimony on occupational safety regulatory standards) with Morley, 2016 U.S.

Dist. LEXIS 56983, at *8-9 (excluding expert testimony regarding what “typical founders

presume” and “believe” regarding ownership).

       The Court’s decision in Morley v. Square, Inc., 2016 U.S. Dist. LEXIS 56983 (E.D. Mo.

Apr. 29, 2016) is instructive here. In Morley, the plaintiffs sought to prove, among other things,

that the defendants unlawfully cut one of the founders out of an alleged joint venture startup. See

id. at *4. The plaintiffs presented an expert to opine on “the typical expectations of participants in

early stage ventures.” Id. at *4-5. The plaintiffs represented that the expert would testify “based

on his extensive experiential expertise, about typical standards, behaviors, and assumptions in the

world of early-stage joint ventures” and that based on the facts, “other similarly situated parties at

similarly nascent stages of business would assume themselves to be joint owners of the business.”

Id. at *7. The District Court excluded this opinion on the grounds that “it is not helpful to the jury

and, cloaked as expert testimony, would be unduly prejudicial.” Id. at *8-9.

       The Court in Lipp similarly excluded opinions of the expert on the parties’ intent. 2017

U.S. Dist. LEXIS 7413, at *12. The Court explained that the expert’s testimony “that certain




                                                 10
Case: 4:21-cv-01022-SEP Doc. #: 151 Filed: 07/12/22 Page: 15 of 19 PageID #: 7122




documents and amendments ‘show that it was the intent of the parties that the properties would be

vacant by the time [one defendant] acquired them from [the other defendant]’” did not meet the

reliability requirement under Rule 702. Id. (citing Christensen v. Lemaster, 2006 U.S. Dist. LEXIS

16905 (D. Idaho 2006) (“[The expert] is not an expert in either the law or psychology—and did

not personally observe [defendant’s] conduct—and thus has nothing to offer” on the defendant’s

state of mind)).

       Here, like in Morley and Lipp, Henderson invokes “concepts surrounding human

interaction and basic business activity” that “will not be foreign to the jury.” Morley, 2016 U.S.

Dist. LEXIS 56983 at *8. Professor Henderson is not an expert in psychology and is not qualified

to opine on the parties’ intentions or how the course of dealings evinces these intentions. See Lipp,

U.S. Dist. LEXIS 7413, at *12. The jury is fully equipped to understand this evidence and draw

its own factual conclusions. Professor Henderson’s opinions should be excluded for this additional

reason as well.

III.   PROFESSOR HENDERSON LACKS THE REQUISITE EXPERTISE TO
       TESTIFY ON LIMITED LIABILITY COMPANY AGREEMENTS

       Finally, even if the Court were to find any of Professor Henderson’s opinions still relevant

despite the prejudice described above, a fundamental problem remains, i.e., that Professor

Henderson’s opinions also must be reliable. See Daubert, 509 U.S. at 589. Despite his impressive

academic credentials, Professor Henderson simply lacks the level of expertise on limited liability

company agreements and real world business negotiations to make his testimony much more than

“subjective belief or unsupported speculation.” Id. Professor Henderson’s Report therefore lacks

the “level of intellectual rigor that characterizes the practice of an expert in the relevant field.”

Kumho Tire, 526 U.S. at 151-52.




                                                 11
Case: 4:21-cv-01022-SEP Doc. #: 151 Filed: 07/12/22 Page: 16 of 19 PageID #: 7123




       Professor Henderson provides only vague pronouncements about his experience in the field

as an “academic and a consultant for the past two decades,” Professor Henderson provides no

concrete connection between his personal experience or academic research and the subject matter

at hand. See Ex. A at 2. Professor Henderson concedes that he has never served on the board of

a limited liability company (Ex. B at 25:7-12), has never written any articles on limited liability

agreements (Ex. B at 24:17-19), and has “never been at the bargaining table on behalf of myself

or another entity” in negotiating an LLC agreement (Ex. B at 25:17-26:4). Indeed, Professor

Henderson appeared somewhat unfamiliar by the term “alternative entity law”—the common term

used to describe business organizations other than corporations (e.g., LLCs, LPs, LLPs). See Ex.

B at 23:18-21 (Q: Is corporate law as you use the term different than alternative entity law? A: I

don’t know what you mean by— do you mean L.L.C.s or something like that?).

       Professor Henderson does not claim to have surveyed business people or conducted some

other empirical study on the beliefs of business persons—or to be relying on any empirical studies

done by others. See Ex. A at 8 (“Materials Considered”). Nor, does Professor Henderson claim

to have undertaken any empirical study of limited liability agreements. See id. Despite these holes

in his experience and methodology, Professor Henderson makes sweeping pronouncements,

including that the rights and responsibilities in the Ashley LLC agreement “are similar to those set

out in tens of thousands of investment agreements” (Ex. A at 2, emphasis added), even though he

later makes the more modest claim of what he has “seen in my experience working with dozens of

closely held companies similar to Ashley” (Ex. A at 18).

       Where the basis of an expert’s opinion is personal experience (or academic study), the

expert must actually have the relevant experience (or have done the relevant academic study). See

Wheeling, 254 F.3d at 715-16. Merely citing general experience in the field is not enough. See




                                                12
Case: 4:21-cv-01022-SEP Doc. #: 151 Filed: 07/12/22 Page: 17 of 19 PageID #: 7124




Langenbau, 167 F. Supp. 3d at 1000 (“43 years of experience” insufficient without tie to specific

subject matter). The expert needs to show the connection between his experience and the

conclusions he reaches. See id. (proffered expert’s views on what “regulations require or should

require or what ‘best industry practices’ should dictate in particular circumstances is not

transformed into a reliable expert opinion simply by his years of experience, in the absence of

some connection to specific regulations or specific expressions of ‘best industry practices’”).

       In Wheeling, for example, the Eighth Circuit Court of Appeals found that the District Court

abused its discretion by allowing an expert to testify beyond the scope of his expertise. 254 F.3d

at 715-16. Although the expert was “eminently qualified to testify as an expert hydrologist

regarding matters of flood risk management,” he “sorely lacked the education, employment, or

other practical personal experiences to testify as an expert specifically regarding safe warehousing

practices.” Id. at 715. The Court observed that the expert “did not study warehousing practices

during his formal education, he has not written about warehousing practices in any of his sixty-

plus published articles, and he has never been employed by a warehouseman during any of the

twenty-one projects on which he has worked.” Id. Furthermore, the expert did not compensate

for his lack of personal practical experience “by, for example, determining or studying the actions

of other warehousemen along the Mississippi River.” Id.

       Like the expert in Wheeling, despite his impressive resume, Professor Henderson lacks “the

education, employment, or other practical personal experiences” to testify on the particular matters

at issue in this case. Thus, Professor Henderson’s opinions should likewise be excluded on

reliability grounds.




                                                13
Case: 4:21-cv-01022-SEP Doc. #: 151 Filed: 07/12/22 Page: 18 of 19 PageID #: 7125




                                         CONCLUSION

       For the foregoing reasons, Cardinals respectfully asks this Court to exclude the Report and

to preclude Professor Henderson from testifying at trial.



Dated: July 7, 2022                               Respectfully submitted,

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                                CERTIFICATE OF SERVICE




                                                14
Case: 4:21-cv-01022-SEP Doc. #: 151 Filed: 07/12/22 Page: 19 of 19 PageID #: 7126




       I hereby certify that a true and correct copy of the above and foregoing was electronically

filed on July 7, 2022 with the United States District Court for the Eastern District of Missouri using

the CM/ECF system and send copies will be sent to all parties via electronic mail.

                                                   /s/ Wayne C. Stansfield
                                                  Wayne C. Stansfield




                                                 15
